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  1   Gene H. Shioda – SBN 186780
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  3
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      SHIODA, LANGLEY & CHANG LLP
  5   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776
  6   Tel: (626)281-1232
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  7
  8   Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                             UNITED STATES BANKRUPTCY COURT

 11               CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12
 13    In re                                               Case No. 2:21-bk-16674-ER

 14                                                        Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                        OBJECTION TO PROOFS OF CLAIM
 16                                                        NO. 9 & 10 OF MICHAEL CARLIN;
                    Debtor and Debtor in Possession.       MEMORANDUM OF POINTS AND
 17                                                        AUTHORITIES; DECLARATION OF
                                                           CHRISTOPHER J. LANGLEY IN
 18                                                        SUPPORT THEREOF
 19
 20                                                        HEARING DATE:

 21                                                        Date:     March 22, 2022
                                                           Time:     10:00am
 22
                                                           Location: Ctrm 1568
 23                                                                  255 E. Temple St.
                                                                        Los Angeles, CA 90012
 24
                TO THE HONORABLE ERNEST M. ROBLES, U.S. BANKRUPTCY JUDGE,
 25
      OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:
 26
                JINZHENG GROUP (USA) LLC (“Debtor”), the chapter 11 debtor and debtor-in -
 27
      possession respectfully submits the motion (“Motion”) objection to Claims 9 & 10 of Michael
 28
      Carlin.
                                                       1
                                DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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  1           The Motion is based on this Notice, the Motion and its accompanying Memorandum of
  2   Points and Authorities, the Declaration of Christopher J. Langley, the pleadings and files in the
  3   Debtor’s bankruptcy cases, and upon such further oral and documentary evidence as may be
  4   presented to the Court. The Motion will be heard on March 22, 2022, at 10:00 a.m., in the United
  5   States Bankruptcy Court for the Central District of California, Los Angeles Division, located at
  6   255 E. Temple St. Los Angeles, CA 90012 in Courtroom 1568.
  7           NOTICE TO CLAIMANT IS HEREBY GIVEN: the Debtor has filed an objection to
  8   your Proof of Claim (“Claim”) identified as follows:
  9
       Claim                                             Alleged Claim       Disputed        Claim To
 10     No.       Date Filed          Claimant              Amount           Amount         Be Allowed
 11       9       1/12/2022
                                   Michael Carlin           $15,650.00      $15,650.00         $0.00
 12      10       1/20/2022
 13
 14           The Motion seeks to alter your rights by reducing your Proof of Claim based on the
 15   grounds set forth in the Motion detailed below.
 16           PLEASE TAKE FURTHER NOTICE that any response to the objections must be in the
 17   form as required by Rule 9013-1(f) of the Local Bankruptcy Rules (“LBR”) and filed with the
 18   Clerk of the above-entitled Court no later than fourteen (14) days prior to the hearing date set
 19   forth above, and a copy served on Christopher J. Langley at the address indicated above. A copy
 20   of any response must also be served on the Office of the United States Trustee, 915 Wilshire
 21   Blvd. Ste 1850, Los Angeles, CA 90017. Failure to timely respond may be deemed as acceptance
 22   of the proposed objections and the Court may grant the relief requested in the Objection Motion
 23   without further notice or hearing. See LBR 3007-1(b) and 9013-1(h).
 24
 25
      Dated: February 18, 2022                      SHIODA, LANGLEY & CHANG LLP
 26
                                                    /s/Christopher J. Langley_____________
 27
                                                    By: Christopher J. Langley
 28                                                 Attorneys for Debtor and Debtor in Possession

                                                        2
                                DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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  1   1.     Summary of Argument
  2          The basis for objection to the Claim is simple and dispositive. Claimant’s priority claim
  3   against the estate should be disallowed since his employment was never approved by this Court.
  4   Due to the nature of his claim, he is required to file an application under 11 USC §330 for
  5   approval of compensation, which he has not done. Claims 9 & 10 are duplicates, so the same
  6   argument applies to both.
  7          Therefore, and for the reasons stated below, this Court must sustain this Objection and
  8   disallow the claims in their entirety.
  9   2.     Statement of Facts
 10          A.        Factual Background
 11          Debtor is a single member LLC that is wholly owned by Mr. Jiaqing Yang. Between
 12   August 2016 and July 2017, the Debtor acquired approximately 32 contiguous acres in Los
 13   Angeles that it intended to develop (the “Los Angeles Properties”). The Debtor contracted with
 14   Betula Lenta, Inc. (“Betula”), a real estate consultancy company, in December 2017 to assist it
 15   with the development of the Los Angeles Properties. In order to fund the development of the Los
 16   Angeles Properties, Debtor borrowed $7,000,000 in September of 2018 which was cross-
 17   collateralized by a first priority deed of trust held by Royal Equity Lending. When Debtor was
 18   unable to refinance the loan, Royal Equity Lending initiated foreclosure on its note, which
 19   necessitated this bankruptcy filing.
 20          B.        Debtor’s Chapter 11 Bankruptcy
 21          On August 24, 2021 (“Petition Date”), the Debtor filed a voluntary petition for relief under
 22   chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the Central District
 23   of California.
 24          On December 9, 2021, Debtor filed a Notice of Bar Date for Filing Proofs of Claim. The
 25   deadline for filing claims in this case was February 4, 2022. To date, the 21 proofs of claims have
 26   been filed against the Debtor’s bankruptcy estate:
 27 Claim                Creditor                     Secured      Priority        Unsecured            Total
       1     LA County Tax Collector              $163,520.10       --              --           $163,520.10
 28    2     Royalty Equity Lending LLC          $9,353,009.29      --              --          $9,353,009.29
       3     IRS                                     --          $28,700.70         --              $28,700.70
                                                          3
                                  DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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       4     Michael and Shari Dorff                 $50,000.00        --              --              $50,000.00
  1
       5     Investment Management Company          $350,000.00        --              --             $350,000.00
  2    6     Testa Capital Group                       --           $13,650.00       $672,900.00      $686,550.00
       7     Home Loans Unlimited Inc.                 --           $13,650.00       $672,900.00      $686,550.00
  3    8     Corona Capital Group, LLC             $540,000.00              --         --             $540,000.00
  4    9     Michael Carlin                            --           $15,650.00         --              $15,650.00
      10     Michael Carlin                            --           $15,650.00         --              $15,650.00
  5   11     UltraSystems Environmental                --                   --        $37,106.50       $37,106.50
      12     Land Design Consultants, Inc.             --                   --        $48,145.00       $48,145.00
  6
      13     Craig Fry & Associates, LLC               --                   --       $240,700.47      $240,700.47
  7   14     Breezeblock Capital LLC               $124,653.99              --         --             $124,653.99
      15     Betty Zheng                               --                   --        $95,000.00       $95,000.00
  8
      16     Shawn Charles Sourgose                    --            13,650.00       $672,900.00      $686,550.00
  9   17     The Phalanx Group                         --                   --       $158,845.00      $158,845.00
      18     Betula Lenta Inc.                         --                   --   $1,643,977.00       $1,643,977.00
 10   19     Donna Bullock                           $45,000                --        $97,803.00      $142,803.00
      20     Pennington Construction Advisors          --                   --        $75,000.00       $75,000.00
 11
      21     DNQ LLC                               $420,000.00              --         --             $420,000.00
 12                                               $11,046,183.38   $110,950.70   $4,415,276.97      $15,562,411.05

 13          On January 18, 2022, the Court approved the employment of Debtor’s Counsel with the

 14   effective date of November 21, 2021.

 15          On January 18, 2022, the Court extended the exclusivity period for Debtor to file a plan to

 16   April 21, 2020, as well as extending the exclusivity deadline to solicit acceptances of its Plan to

 17   May 20, 2022.

 18          On January 25, 2022, The United States Trustee filed a notice of appointment of Creditors’

 19   Committee naming Betula Lenta Inc, Pennington Construction Advisors, Inc and The Phalanx

 20   Group Inc. as committee members.

 21          Debtor is currently in the process of drafting the disclosure statement and proposed plan of

 22   reorganization.

 23          C.       Proof of Claim
 24          On January 12, 2022 (Claim #9), and then on January 20, 2022 (Claim #10) Michael

 25   Carlin (“Claimant”) filed claims in this case (“Claims”). Both Claims assert that $15,600 is due to

 26   Claimant as a priority claim based on “services performed- Post Petiton.” All references in this

 27   Objection will refer to Claim #10, since it appears that it was the intent that Claim #10 would

 28

                                                            4
                                    DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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  1   amend Claim #9. A true and correct copy of the Claims are attached to the Declaration of
  2   Christopher J. Langley (“Langley Declaration”) as Exhibit A.
  3          As evidence of his Claim, Claimant’s attaches 2 invoices (#1510156, and #1510157) for a
  4   combined 313 hours billed at $50 per hour. There is no itemization of his time other than claiming
  5   that the first 173 hours were for “Preparation of Documents and CRR Duties $50 per hour Sept,
  6   Oct, Nov.” and then “Research/Response to Steven Chang emails $50 per hour” for 140 hours.
  7   Claimant also attaches a document entitled “Unanimous Written Consent of the Member of
  8   Jinzheng Group (USA) LLC” resolving that Michael Douglas Carlin be appointed “Chief
  9   Restructuring Officer.”
 10          Based on the above, Claimant has failed to demonstrate that he is a creditor of the Debtor

 11   with a right to payment, that he has a right to an “equitable remedy” against Debtor, or that Debtor
 12   is liable to Claimant. As such, the objection to the Claim should be sustained.
 13
 14   3.     Memorandum of Points and Authorities
 15          a.      Claim No. 9 & 10 must be disallowed because Claimant is not a
 16                  creditor of the Debtor since he was never employed by the Estate.
 17          Under the Bankruptcy Code, to assert a “claim” and be treated as a creditor, a claimant
 18   must have a “right to payment” or a right to an “equitable remedy.” 11 U.S.C. §101(5)(A)(B).
 19   Further, under Section 502(b)(1) of the Bankruptcy Code, a claim may not be allowed if “such
 20   claim is unenforceable against the debtor and property of the debtor, under any agreement or
 21   applicable law.” 11 U.S.C. 502(b)(1).
 22          Here, Claimant asserts to have priority claim of $15,600 arising from his services to the
 23   Debtor post-petition in his capacity as an officer of the Debtor. Claimant however has never
 24   sought approval of his employment from the Court, as such he is unable to be paid from the estate.
 25          Section 327 requires the court to authorize the employment of professional persons to
 26   assist the Debtor-in-Possession to carry out his duties, as it does for an attorney representing the
 27   estate. “Court approval of the employment of counsel for a debtor in possession is sine qua non to
 28   counsel getting paid. Failure to receive court approval for the employment of a professional in

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                                DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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  1   accordance with § 327 and Rule 2014 precludes the payment of fees.” In re Shirley, 134 B.R. 940,
  2   943-44 (B.A.P. 9th Cir. 1992)
  3          Compensation cannot usually be granted for professional services unless the court has
  4   authorized the employment of the professional who rendered the services. See In re Mehdipour,
  5   202 B.R. 474, 479 (B.A.P. 9th Cir. 1996).
  6          Local Bankruptcy Rule 2014-1(b)(1)(E) states that “A timely application for employment
  7   is a prerequisite to compensation from the estate. Therefore, an application for the employment of
  8   counsel for a debtor in possession should be filed as promptly as possible after the commencement
  9   of the case, and an application for employment of any other professional person should be filed as
 10   promptly as possible after such person has been engaged.”

 11           This is not a deficiency that can be cured. The ability to be employed by the estate nunc
 12   pro tunc under 11 USC §327 would be especially difficult after the Supreme Court case Roman
 13   Catholic Archdiocese of San Juan v. Feliciano, 140 S. Ct. 696, decided February 24, 2020.
 14          Claimant is unable to assert an administrative claim under 11 USC §503(b)(1)(A), since
 15   section 503 cannot be used to allow professionals to side-step or otherwise avoid the requirements
 16   of §§ 327 and 330. See Mehdipour, 202 B.R. at 479; 11 U.S.C. §§ 327 & 330.

 17          Based on the Claims as filed and exhibit attached thereto, because Claimant neither asserts
 18   nor provides any evidence that shows that Claimant is owed anything by the Debtor, or that the
 19   Debtor is otherwise liable to it, Claimant is not a creditor of the Debtor. See e.g., In re Jeter, 2014
 20   Bankr. LEXIS 969, at *38 (Bankr. E.D. Tenn. Mar. 13, 2014 ) (stating party was creditor of debtor
 21   where it held contingent right to payment under the agreement at issue); In re B-Bar Tavern Inc.,
 22   506 B.R. 879, 914 (Bankr. D. Mont. 2013) (finding, notwithstanding the broad definitions under
 23   11 U.S.C. 101, that party was not creditor of debtor with a right to payment of debt alleged in its
 24   proof of claim where no written evidence existed in the record of a note or other promise by debtor
 25   to repay for the alleged loans); In re Player Wire Wheels, Ltd., 428 B.R. 767, 769-770 (Bankr.
 26   N.D. Ohio 2010) (finding ex-wife of deceased debtor’s principal was not a creditor of debtor
 27   where debtor did not owe her any money). Claimant fails to provide any documents on its
 28

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                                 DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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  1   purported against the Debtor, or any other evidence that would support his assertion that he is a
  2   creditor of the Debtor, or that he has a right to an equitable remedy against Debtor.
  3          Based on the above, Claimant has failed to provide evidence that he is a creditor of Debtor.
  4   As such, the Court should sustain this Objection and disallow the Claim in its entirely.
  5          b.      Claimant has not met his burden of proof.
  6          A proof of claim executed and filed in accordance with Federal Rule of Bankruptcy
  7   Procedure 3001 constitutes prima facie evidence of the validity and amount of the claim. FRBP
  8   3001(f). The proof of claim is deemed allowed “unless a party in interest” objects. 11 U.S.C.
  9   §502(a). “[I]f such objection to a claim is made, the court, after notice and a hearing, shall
 10   determine the amount of such claim in lawful currency of the United States as of the date of the
 11   filing of the petition, and shall allow such claim in such amount[.]” 11 U.S.C. §502(b).
 12          It is an objecting party’s burden to submit sufficient evidence to overcome the
 13   presumption of the validity of the proof of claim executed and filed in accordance with FRBP
 14   3001. See LBR 3007-1(c)(1); In re Lundell, 223 F.3d 1035, 1039 (9th Cir. 2000). The objecting
 15   party is not required to disprove the claim. In re Kahn, 114 B.R. 40 (Bankr. S.D.N.Y. 1990). The
 16   objecting party only has the initial burden of producing facts sufficient to demonstrate that an
 17   actual dispute regarding the validity or amount of the claim exists. In re Hydorn, 94 B.R. 608
 18   (Bankr. W.D. Mo. 1988). If the objecting party provides sufficient evidence to negate one or
 19   more of the sworn facts in the proof of claim, then the burden reverts back to the claimant to
 20   prove the validity by a preponderance of the evidence. In re Lundell, 233 F.3d at 1039. The
 21   ultimate burden of persuasion remains at all times with the claimant. Id.; In re Holms, 931 F.2d
 22   620 (9th Cir. 1991).
 23          In the present case, Debtor has raised issues sufficient to demonstrate an actual dispute
 24   regarding the validity of the claim. As stated above, the priority Claims for $15,650 are for
 25   services that have never been authorized by the Court. Based on the Claim as filed, and the
 26   supporting document attached thereto, Claimant has failed to meet his burden of proof that he is a
 27   creditor of the Debtor, that Debtor owes him any money, or that Debtor is otherwise liable to
 28   Claimant. Because Claimant does not have a “right to payment” or an “equitable remedy,” he

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                                 DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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  1   cannot assert a claim under the Bankruptcy Code. Claimant therefore must establish by a
  2   preponderance of the evidence that the Claim should be allowed, and based upon the substance of
  3   this Objection, the burden of persuasion squarely rests with him.
  4           Based on the foregoing, the Objection to the Claim should be sustained and the claim
  5   disallowed in its entirety as set forth herein.
  6           c.      The Objection should be sustained absent a response.
  7           Rule 3007-1(b)(6) of this Court’s Local Bankruptcy Rules provides that in the event of an
  8   objection to claim, “If the claimant does not timely file and serve a response, the court may
  9   sustain the objection without a hearing. (A) The objector must file a declaration attesting that no
 10   response was timely filed and served upon the objector. The declaration must identify the docket
 11   number and filing date of the objection to claim, notice, and proof of service of the notice and
 12   objection to claim and be served on the claimant. (B) The objector must also lodge a proposed
 13   order prepared and served in accordance with LBR 9021-1 and the Court Manual. (C) The
 14   objecting party must serve the entered order on the claimant and counsel, if any.”
 15           Absent a response by Claimant, this Objection should be sustained without hearing and
 16   the Claim should be disallowed in its entirety.
 17   4.      Conclusion
 18           Based on the foregoing, the Objection to the Claim must be sustained, disallowing the
 19   claim in its entirety without the right to amend and for such other and further relief as the Court
 20   may deem just and proper.
 21
 22                                                     Respectfully Submitted,
 23   Dated: February 18, 2022
 24                                                     /s/Christopher J. Langley_____________
                                                        By: Christopher J. Langley
 25
                                                        Shioda, Langley & Chang LLP
 26                                                     Attorneys for Debtor and Debtor in Possession

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  1                        DECLARATION OF CHRISTOPHER J. LANGLEY
  2   I, Christopher J. Langley, am the attorney duly authorized and admitted to practice law in this
  3   jurisdiction. I represent the Debtor and Debtor-in-possession Jinzhang Group (USA) LLC. I have
  4   personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could
  5   and would competently testify thereto. I make this declaration in support of OBJECTION TO
  6   PROOFS OF CLAIM NO. 9 & 10 OF MICHAEL CARLIN; MEMORANDUM OF POINTS
  7   AND AUTHORITIES; which this declaration is attached to.
  8          1.       A true and correct copy of Official Claim #10 and #9 filed by Michael Carlin are
  9   attached as Exhibit A. They were served on me through the Court’s electronic noticing system
 10   and are true and correct copies of the claims on file with the Court
 11              2.   Based on my review of the docket in this case, Claimant has never filed an
 12   application to be employed by the Estate, nor has this Court approved any such employment
 13   request.
 14          I declare under penalty of perjury under the laws of the United States of America that the
 15   foregoing is true and correct to the best of my knowledge.
 16
      Dated: February 17, 2022                              By: /s/Christopher J. Langley
 17
                                                                  Christopher Langley
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  1                                       PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 4158 14th Street, Riverside, CA 92501
  3
      A true and correct copy of the foregoing document entitled (specify): OBJECTION TO PROOFS OF
  4   CLAIM NO. 9 & 10 OF MICHAEL CARLIN; MEMORANDUM OF POINTS AND AUTHORITIES;
      DECLARATION OF CHRISTOPHER J. LANGLEY IN SUPPORT THEREOF will be served or was served
  5   (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
      stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) February 18, 2022, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  9
      Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
      Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
 10
      Susan Titus Collins scollins@counsel.lacounty.gov
      Jeffrey W Dulberg jdulberg@pszjlaw.com
 11   Richard Girgado rgirgado@counsel.lacounty.gov
      M. Jonathan Hayes jhayes@rhmfirm.com,
 12   roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmf
      irm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
 13   Christopher J Langley chris@slclawoffice.com,
      omar@slclawoffice.com;langleycr75251@notify.bestcase.com
 14   Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
      Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
 15   Giovanni Orantes go@gobklaw.com, gorantes@orantes-
      law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.
 16   bestcase.com
      Matthew D. Resnik matt@rhmfirm.com,
 17   roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rh
      mfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sl
 18   oan@rhmfirm.com
      Allan D Sarver ADS@asarverlaw.com
 19   David Samuel Shevitz david@shevitzlawfirm.com,
      shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
 20   United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
      Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
 21                                                       Service information continued on attached page
      2. SERVED BY UNITED STATES MAIL:
 22   On (date) February 18, 2022, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
      envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
 23   here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 24
      Honorable Ernest M. Robles
 25   Edward R. Roybal Federal Building and Courthouse
      255 E. Temple Street, Suite 1560 / Courtroom 1568
 26   Los Angeles, CA 90012
 27   Michael Carlin
      PO Box 67132
 28   Century City, CA 90067
      (Address per proof of claim)
                                                           10
                                     DEBTOR-IN-POESSION’S OBJECTION TO CLAIM 9 & 10
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                                                          Service information continued on attached page
  1
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
  2   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) February 18, 2022, I served the following persons and/or entities by personal delivery, overnight mail
  3   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
  4   mail to, the judge will be completed no later than 24 hours after the document is filed.

  5
                                                          Service information continued on attached page
  6
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  7
        February 18, 2022                 John Martinez                      /s/John Martinez
  8     Date                      Printed Name                               Signature

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Case
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      2:21-bk-16674-ER Claim
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                             10 Filed
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